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 8
 9                          UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11                          EASTERN DISTRICT – RIVERSIDE
12
   SAVE OUR FOREST ASSOCIATION,                  Case No.: 5:24-cv-01336-JGB-DTB
13 INC.
                                                 PLAINTIFF’S OPPOSITION TO
14                                               YUHAAVIATAM OF SAN
               Plaintiff,                        MANUEL NATION’S MOTION
15
         vs.                                     TO INTERVENE FOR LIMITED
16                                               PURPOSE OF MOTION TO
                                                 DISMISS
17 UNITED STATES FOREST SERVICE, et
   al.,
18                                               Date: July 7, 2025
                                                 Time: 9:00 a.m.
19             Defendants.                       Judge: Hon. Jesus G. Bernal
20                                               Dept: Courtroom 1, Riverside
21
                                                 Action Filed: June 25, 2024
22                                               Trial Date: March 31, 2026
23
24
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27                                           1
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 1                                           TABLE OF AUTHORITIES
 2 CASES
 3 Alto v. Black, 738 F.3d 1111 (9th Cir. 2013) .......................................................... 26
 4 Am. Greyhound Racing, Inc. v. Hull, 305 F.3d 1015 (9th Cir. 2002) ..................... 21
 5
   Arakaki v. Cayetano, 324 F.3d 1078 (9th Cir. 2003) .............................................. 19
 6
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 9       California, 547 F.3d 962 (9th Cir. 2008) ...................................................... 20
10 Chinook Indian Nation v. Zinke, No. C17-5668 RBL, 2018 WL 4095089
11      (W.D. Wash. Aug. 28, 2018) ........................................................................ 20
12 Deschutes River All. v. Portland Gen. Elec. Co., 1 F.4th 1153 (9th Cir.
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14 Dine Citizens Against Ruining Our Env’t v. Bureau of Indian Affs., 932 F.3d
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16 Donaldson v. United States, 400 U.S. 517, 91 S. Ct. 534, 27 L.Ed.2d 580
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19 Makah Indian Tribe v. Verity, 910 F.2d 555 (9th Cir. 1990) ...................... 20, 24, 25
20 Maverick Gaming LLC v. United States, 123 F.4th 960 (9th Cir. 2024) ................ 20
21 Maverick Gaming LLC v. United States, No. 3:22-CV-05325- DGE, 2023
22      WL 2138477 (W.D. Wash. Feb. 21, 2023) ................................................... 22

23 Metcalf v. Daley, 214 F.3d 1135 (9th Cir.2000) ..................................................... 23
24 Oregon Nat. Res. Council Action v. U.S. Forest Serv., 445 F. Supp. 2d 1211
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 1 Scotts Valley Band of Pomo Indians of Sugar Bowl Rancheria v. U.S., 921
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 3 Scotts Valley Band of Pomo Indians v. United States Dep’t of the Interior,
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   Shermoen v. United States, 982 F.2d 1312 (9th Cir. 1992)..................................... 25
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 6 Smith v. L.A. Unified Sch. Dist., 830 F.3d 843 (9th Cir. 2016) ............................... 19
 7 Southwest Center for Biological View v. Babbitt, 150 F.3d 1152 (9th Cir.
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 9 W. Watersheds Project v. Haaland, 22 F.4th 828 (9th Cir. 2022) .......................... 19
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11 Yocha Dehe v. United States Dep’t of the Interior, 3 F.4th 427 (D.C. Cir.
12      2021) ............................................................................................................. 22
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 1                                TABLE OF EXHIBITS
 2
 3                       Exhibits to Declaration of Rachel Doughty

 4 No. Authentication Date                   Document Title            Short Title
 5 1 Doughty Decl. 02/11/2010             Local Agency Formation      LAFCO Res.
 6                                       Commission County of San        3088
                                          Bernardino (“LAFCO”)
 7                                          Resolution No. 3088
 8   2   Doughty Decl. 10/10/2006        LAFCO 3053 Staff Report      LAFCO Staff
                                                                      Report 3053
 9
     3   Doughty Decl.    01/25/2019      Newspaper article: San     San Bernardino
10                                     Bernardino Sells its Share of     Sentinel
11                                    Historic Del Rosa Mutual H2O       Article
                                         Co. for Less than $2,300
12   4   Doughty Decl.    08/05/2022 Story of Stuff Project Closing   SOS Closing
13                                                 Brief                  Brief
     5   Doughty Decl.    05/16/2022    Sur-Rebuttal Testimony of      Allord Sur-
14
                                        Gregory Allord (SOS 288)         Rebuttal
15                                                                     Testimony
16   6   Doughty Decl.                 Curriculum Vitae of Gregory        Allord
                                                   Allord             Qualifications
17
     7   Doughty Decl.                     Gregory Allord Slides      Allord Slides
18   8   Doughty Decl.     Feb. 2023      Special Use Permit No.        2023 SUP
19                                     FCD728503, issued to BTB
     9   Doughty Decl.     Sep. 2005 USDA Land Management Plan,        2005 Land
20
                                      Part 1 San Bernardino National Management
21                                            Forest (excerpts)            Plan
22   10 Doughty Decl.                    USFS Handbook 2509.22
                                                 (excerpts)
23   11 Doughty Decl.     07/27/2018 USFS Decision Memo Regarding 2018 USFS
24                                                 Nestle                 Memo
25   12 Doughty Decl.     09/29/2023 USFS Letter to BTB Regarding      2023 USFS
                                     the 2021 Cease and Desist Order      Letter
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 1 No. Authentication  Date                  Document Title           Short Title
 2 13 Doughty Decl. 11/20/2023         Second USFS Letter to BTB      2023 USFS
                                      Regarding the 2021 Cease and Letter Second
 3                                             Desist Order             Request
 4   14   Doughty Decl. 03/01/2024 USFS Letter to BTB Requesting      2024 USFS
 5                                         Missing Information           Letter
     15   Doughty Decl. 03/25/2024 USFS Letter to BTB Reiterating     2024 USFS
 6                                   Request for Missing Information Letter Second
 7                                                                      Request
     16   Doughty Decl. 04/18/2024      USFS Letter to BTB Third      2024 USFS
 8
                                     Request for Missing Information Letter Third
 9                                                                      Request
10   17   Doughty Decl. 04/24/2024     USFS Letter to BTB Fourth      2024 USFS
                                     Request for Missing Information Letter Fourth
11                                                                      Request
12   18   Doughty Decl. 05/04/2024 USFS Letter to BTB Regarding       2024 USFS
                                         Insufficient Information     Insufficient
13
                                                                       Evidence
14                                                                       Letter
15   19   Doughty Decl. 06/21/2024     USFS Second Letter to BTB      2024 USFS
                                          Regarding Insufficient        Second
16                                             Information            Insufficient
17                                                                     Evidence
                                                                         Letter
18
     20   Doughty Decl. 07/26/2024        USFS Notice to BTB           2024 SUP
19                                          Terminating SUP           Termination
20   21   Doughty Decl. 10/14/2021 Newspaper article: Arrowhead       2021 Desert
                                     Bottler: Most Water Piped from   Sun Article
21                                    National Forest is Returned to
22                                     Ground or Supplied to Tribe
     22   Doughty Decl. 05/14/2024 BTB Letter to USFS Regarding        2024 BTB
23
                                            SUP Termination             Letter re
24                                                                    Termination
25   23                            Intentionally Omitted

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27                                         6
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 1 No. Authentication  Date                 Document Title            Short Title
 2 24 Doughty Decl. 01/03/2025          Motion to Intervene of       Tribe Motion
                                     Yuhaaviatim of San Manuel        to Intervene
 3                                     Nation; Motion for Order
 4                                    Shortening Time (ECF 64)
 5   25 Doughty Decl.   01/03/2025 Declaration of Paul Hamai In      Hamai Decl.
                                   Support of Motion to Intervene an
 6                                 Motion for Preliminary Injunction
 7                                            (ECF 65-10)
     26 Doughty Decl.   01/14/2025 Order Granting Yuhaaviatam of Order Granting
 8                                  San Manuel Nation’s Motion to Intervention,
 9                                         Intervene (ECF 91)        BTB v. USFS
10   27 Doughty Decl.   01/03/2025     Declaration of Alexandra        McCleary
                                    McCleary in Support of Motion         Decl.
11                                   to Intervene and Preliminary
12                                       Injunction (ECF 65-9)
     28 Doughty Decl.   08/24/2018      Special Use Permit No.        Nestle 2018
13                                             FCD728501                  SUP
14   29 Doughty Decl.   Aug. 2022       Special Use Permit No.         BTB 2022
                                               FCD728502                  SUP
15
     30 Doughty Decl.   08/01/2023      Special Use Permit No.         BTB 2023
16                                             FCD728503                  SUP
17   31 Doughty Decl.   12/11/2023   Letter Agreement Amending        2023 Letter
                                   80/20 Agreement During Interim Agreement
18
                                           Period (ECF 65-8)
19   32 Doughty Decl.   05/20/2016 News Article: San Manuel Buys 2016 Desert
20                                  Landmark Arrowhead Springs        Sun Article
                                      Property in San Bernardino
21
22                       Exhibits to Declaration of Steve Loe
23
     No. Authentication    Date           Document Title             Short Title
24
      A    Loe Decl.    12/17/2021     Declaration of Steve Loe         Loe
25                                                                   Declaration
26
27                                        7
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 1 No. Authentication    Date               Document Title             Short Title
 2 B     Loe Decl.    12/17/2021         Declaration of Steve Loe         Loe
                                               (SOS 031)               Declaration
 3                                                                        SOS
 4   C      Loe Decl.     4/8/2022  Sur-Rebuttal Testimony of Steve     Loe Sur-
 5                                          Loe (SOS 282)               Rebuttal
     D      Loe Decl.    12/17/2021     Loe Sur-Rebuttal Slides        Loe Slides
 6                                            (SOS 283)
 7   E      Loe Decl.     2/23/2015 Loe Letter to SBNF Regarding        2023 Loe
                                     Strawberry Creek Emergency       SBNF Letter
 8
     F      Loe Decl.     1/31/1987    1986 Water Rights Report        1986 Water
 9                                                                    Rights Report
10   G      Loe Decl.    Sep. 1987      1987 Water Rights Report       1987 Water
                                                                      Rights Report
11
12                      Exhibits to Declaration of Hugh Bialecki
13
   No. Authentication   Date            Document Title                 Short Title
14
    1 Bialecki Decl. 02/10/2022 Email from San Manuel Tribe to         2022 Tribe
15                               State Water Resources Control           Email to
16                                           Board                       SWRCB
    2 Bialecki Decl. 11/18/2009 LAFCO Resolution No. 2942                LAFCO
17
                                                                      Resolution No.
18                                                                         2942
19   3    Bialecki Decl.    2023     Water Extraction Recordation for      2023
                                               Arrowhead                Extraction
20                                                                        Record
21   4    Bialecki Decl. 2016 - 2021 Prior Water Extraction Records        Prior
                                             for Arrowhead              Extraction
22                                                                       Records
23
24
25
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27                                          8
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 1 I.      Introduction
 2         The Administrative Procedure Act (“APA”) establishes the right to judicial
 3   review of unlawful federal agency action and waives federal sovereign immunity to
 4   ensure the vindication of that right. Pursuant to this right of judicial review, Plaintiff
 5   Save Our Forest Association (“Plaintiff” or “SOFA”) challenges the U.S. Forest
 6   Service’s (“USFS”) decision to grant BlueTriton Brands, Inc. (“BTB”) a permit to
 7   occupy the San Bernardino National Forest (“SBNF”) lands and BTB’s unlawful
 8   diversion of water from SBNF Strawberry Creek and its tributary Springs
 9   (“Strawberry Creek”). The Yuhaaviatam of San Manuel Nation (“Nation”) has
10   moved to intervene in this case for the sole purpose of moving to dismiss Plaintiff’s
11   claims under the theory that its water delivery contract with BTB is a significantly
12   protectible interest such that the Nation is a required party but also reserves its
13   sovereign immunity and does not consent to be sued, seeking dismissal.
14         The Nation’s claimed interests fail to meet the threshold for a “significantly
15   protectable” interest required by law. The land at issue lies within a national
16   forest managed by the federal government, not within tribal territory. The Nation
17   has no ownership or jurisdictional interests in Strawberry Creek or its tributary
18   springs. In addition, there is no relationship between the Nation’s legal interests in its
19   contract with BTB and the claims at issue in this case. Plaintiffs are not seeking an
20   order directing the Service to conclude that any activity by the Nation is unlawful or
21   barring the Nation from applying for its own Special Use Permit (SUP). The
22   Nation’s interest in barring UFSF from engaging in discreet, federal law mandates is
23   not an interest that is “protectable under law.”
24         The Nation’s proposed limited intervention for purposes of dismissal would
25   eliminate Plaintiff’s right to judicial review of unlawful governmental action,
26
27                                               9
        PLAINTIFF’S OPPOSITION TO YUHAAVIATAM OF SAN MANUEL
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 1   potentially not just in Strawberry Canyon but over the 7.4 million acres in Southern
 2   California claimed as ancestral territory by The Nation. Although the Ninth Circuit
 3   generally interprets the rule for intervention “broadly in favor of proposed
 4   intervenors,” that rationale does not apply here. Wilderness Society v. U.S. Forest
 5   Service, 630 F.3d 1173, 1179 (2011). The courts favor broad intervention because it
 6   promotes the efficient resolution of issues and expands access to the courts.
 7   However, the Nation’s motion does not advance these goals as it aims solely to
 8   dismiss legitimate legal claims under the guise of immunity—an immunity it has not
 9   sought in the related case BlueTriton Brands v. United States Forest Service et al.,
10   No. CV 24-9720 JGB (DTBx) (C.D. Cal. filed Aug. 4, 2024) (“BTB v. USFS”).
11   Rather than promoting efficiency or fairness, the intervention would undermine
12   Plaintiff’s access to justice by preventing the Court from addressing the merits of
13   Plaintiff’s claims altogether.
14 II.    Factual Background
15        A.     BTB Diversion History and Effect
16         Since around 1930 BTB and its predecessors in interest, have operated and
17   maintained water diversion structures in the Strawberry Creek Watershed (also
18   referred to as Strawberry Canyon) within the SBNF. Strawberry Creek is
19   tributary to East Twin Creek and the Santa Ana River. The West Fork of
20   Strawberry Creek originates in the San Bernardino National Forest (“SBNF”) with
21   its headwaters in Township 2 North Range 3 West (T2N R3W) (“Headwaters
22   Springs”). Strawberry Creek flows approximately three miles, into Township 1
23   North Range 3 and 4 West (T1N R3W and R4W), which is where the Arrowhead
24   Hotel is located.
25
26
27                                              10
         PLAINTIFF’S OPPOSITION TO YUHAAVIATAM OF SAN MANUEL
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 1         BTB’s present-day spring diversions are from the Headwaters Springs and
 2   from a complex of springs (10, 11, 12) which are located, like the Headwaters
 3   Springs, in the drainage area of a tributary of Strawberry Creek, but at a lower
 4   elevation (the “Cienega Springs”). Both the Headwaters Springs and the Cienega
 5   Springs are located entirely within the SBNF. All of the water at issue in this case is
 6   diverted from the West Fork of Strawberry Creek Watershed, which is within the
 7   Strawberry Creek Watershed, and all within the SBNF.
 8         The present-day engineering of the water diversion system in Strawberry
 9   Canyon started in 1929 and 1930. The system expanded over the years with the
10   addition and deepening of boreholes, larger pipes, and more points of diversion. The
11   only present-day diversion structure in Strawberry Canyon is BTB. Only BTB and
12   its predecessors have ever held a Special Use Permit (“SUP”) to divert water from
13   Strawberry Canyon. See Doughty Declaration, filed herewith, Exhs. 4 to 7, Loe
14   Declaration, filed herewith, Exhs. A to D.
15         BTB is party to a contract, originating from a water rights dispute in the early
16   1930s, that requires BTB to deliver 20% of whatever water it diverts off of federal
17   land to the party owning the Arrowhead Springs Hotel. Doughty Decl, Exh. 4, The
18   Hotel Property is presently owned by the Nation, which acquired it in 2016. Doughty
19   Decl. ¶8.
20 //
21 //
22      B. USFS-Issued SUPs
23            1. Pre-2018 SUPs
24         USFS first issued an SUP to divert water in Strawberry Canyon in 1931 to
25   Arrowhead & Puritas Waters Inc. and Arrowhead Springs Corporation (collectively
26
27                                             11
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 1   “Arrowhead”) for the purpose of “constructing and maintaining pipelines.” There is
 2   no evidence of water diversion from Strawberry Canyon by anyone prior to 1929.
 3   Doughty Decl. Ex. 4, pp. 17-24.
 4         2.    2018 Decision to Issue SUP to Nestlé
 5         On July 27, 2018, Forest Ranger Joseph Rechsteiner signed a decision memo
 6   (“2018 Decision Memo”), Doughty Decl., Exh. 11, memorializing his decision to
 7   issue a new SUP to the public company Nestlé, a subsidiary of public company
 8   Nestlé, S.A., to operate and maintain existing diversion structures in Strawberry
 9   Canyon. The 2018 Decision Memo allowed issuance of an SUP of 3 years’ term
10   with two one-year discretionary renewals. The 2018 Decision Memo also stated that
11   “[i]f the Land Management Plan requirements can be met, and the applicant has a
12   valid state water right, then the access and infrastructure that facilitates water
13   extraction can be authorized.”
14         3.    Nestlé 2018 SUP
15
           On August 24, 2018, Nestlé’s representative and Ranger Rechsteiner signed
16
     the three-year SUP authorized by the 2018 Decision Memo, which SUP would
17
     expire on August 24, 2021 (“Nestlé 2018 SUP”) (FCD728501). Doughty Decl., Exh.
18
     28. The contents of the Nestlé 2018 SUP specified that the permit was not assignable
19
     or transferable. Id. at p. 2 (I.H.). The 2018 SUP stated: “Any change in control of the
20
     business entity [holding the permit] shall result in termination of this permit.” Id. at
21
     p. 3 (I.J.2.) The contents of the Nestlé 2018 SUP also stated “[t]his permit does not
22
     confer any water rights on the holder. . . . The United States reserves the right to
23
     place any conditions on installation, operation, maintenance, and removal of
24
     facilities to . . . divert, store, or convey water on National Forest System lands
25
     covered by this permit that are necessary to protect public property, public safety,
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27                                              12
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 1   and natural resources on National Forest System lands in compliance with applicable
 2   law.” Doughty Decl. Exh. 28 at p. 12 (VIII.H).
 3         4.     BTB 2022 & 2023 SUPs
 4          On August 18, 2022, Acting Ranger Joseph Jordan signed a SUP for BTB,
 5   FCD728502 (“BTB 2022 SUP”). Doughty Exh. 29. This SUP expired six days later
 6   on August 24, 2022. On February 21, 2023, the Forest Service and BTB executed a
 7   second SUP, FCD728503 (“BTB 2023 SUP”). Doughty Exh. 30. The BTB 2023
 8   SUP contained similar recitations and entries regarding water rights as the BTB
 9   2022 SUP.
10          The BTB 2023 SUP, by its own terms, expired on August 24, 2023, with a
11   provision that “[a]pplications for a new permit must be submitted at least 6 months
12   prior to expiration of this permit.” Id. at p. 2 (I.D.). It also states the holder “shall”
13   comply with state environmental laws. Id. at p. 7 (V.A.). Upon termination, it is
14   BTB’s responsibility to “remove all structures and improvements [. . .] within a
15   reasonable period prescribed by the authorized officer and shall restore the site to the
16   satisfaction of the authorized officer.” Id. at p. 12 (VII.E.).
17         5.     Termination of the SUP
18
            BTB requested renewal of the BTB 2023 SUP some time in 2024 (“2024
19
     Renewal Application”). The USFS demanded certain information from BTB, which
20
     it was not forthcoming in providing. See Doughty Decl. ¶¶16-20. On May of 2024,
21
     BTB provided information the USFS making clear that (1) it delivered part of its
22
     water to the Tribe, and (2) that the Tribe was not a party to the SUP. In response to
23
     questions from the USFS regarding the 2024 Renewal Application, BTB sent the
24
     USFS a statement of the Nation, including the sentence: “The Tribe is not a party to,
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27                                                13
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 1   nor is it bound by the terms of the [BTB 2023 SUP] or the [SWRCB Order].”
 2   Doughty Decl. Exh. 22, p. 15.
 3          On July 26, 2024, the USFS sent BTB a “Notice of Denial of Application for
 4   Use and Occupancy of National Forest Lands; Termination of Special Use Permit
 5   FCD728503 [the BTB 2023 SUP]” (“Termination Letter”), which notified BTB
 6   that “all use of Forest System lands, including the operation and maintenance of a
 7   water collection/water transmission system on USFS lands, must stop immediately,”
 8   block flows through the pipeline within seven days, and prepare an infrastructure
 9   removal plan within 12 weeks.
10     C. The Nation’s interest in BTB’s infrastructure is as a successor in interest
          with purchase of the Arrowhead Hotel Property
11
12          The Nation purchased the former Arrowhead Hotel in 2016. Doughty Decl.

13   ¶8. The Arrowhead Hotel property is not state or federal reservation land. Id. ¶8.

14   BTB delivered some portion of the water it diverts from federal land to the

15   Arrowhead Hotel Property pursuant to an agreement from the 1930s, when BTB’s

16   predecessor in interest first diverted water from Strawberry Canyon and first

17   obtained a SUP from the USFS. Doughty Decl., Exh. 4, pp. 23-24. This delivery has

18   continued to the present, with the BTB agreeing to deliver 20% of the diverted water

19   to the Hotel Property, notwithstanding the terms of its SUPs. See Doughty Decl.

20   Exh. 22, p. 13, Exh. 25. BTB and the Nation amended the 1930s agreements on

21   December 11, 2023. Again, notwithstanding the limitations of the BTB 2023 SUP,

22   the amended agreement, committed BTB to continue to deliver 20% of whatever

23   water it diverted from Strawberry Canyon to the Hotel Property. Doughty Decl. Exh.

24   31.

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27                                            14
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 1     D. The Nation has declined to engage with the SWRCB or the USFS
 2         At multiple times the Nation has been made aware of the controversy
 3   surrounding the water it receives from BTB by virtue of having acquired the
 4   Arrowhead Springs Hotel:
 5        1. In 2016, the Tribe purchased the Arrowhead Springs Hotel, which was on
 6           offer for $60 million. Doughty Decl. ¶8. Presumably due diligence
 7           performed in that transaction would have unearthed LAFCO documents and
 8           entitlements discussing water sources other than Strawberry Canyon as
 9           those identified for development of the property. Doughty Decl. ¶7,
10           Bialecki Decl. ¶¶ 13-14. In 2016, the validity of BTB’s (then Nestlé’s)
11           occupation was being challenged in federal court, in a lawsuit that was filed
12           on October 13, 2015. (ECF 6, ¶2).
13        2. In 2021, a representative of the Nation declined to comment to the Desert
14           Sun regarding delivery of water to the Nation through the BTB
15           infrastructure. Doughty Decl. Exh. 21.
16        3. On February 10, 2022, the Nation declined to engage in the hearing of the
17           SWRCB regarding the water BTB diverts from the SBNF. Bialecki Decl.
18           ¶ 11.
19        4. A December 11, 2023, agreement between the Nation and BTB made clear
20           that BTB might lose its right to occupy USFS land. See Doughty Decl. Exh.
21           31. In May 2024, BTB wrote to the USFS, with a statement from the Nation
22           attached, which included the sentence: “The Tribe is not a party to, nor is it
23           bound by the terms of the [BTB 2023 SUP] or the [SWRCB Order].”
24           Doughty Decl. Exh. 22, p. 15.
25
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27                                            15
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 1        5. The Nation has never submitted an application for its own SUP to the
 2           USFS. Doughty Decl. ¶21.
 3     E. There is no evidence of impact to cultural resources
 4         There is no evidence that decommissioning the BTB infrastructure or
 5   restoring Strawberry Canyon’s riparian ecosystem will harm culture resources. Gary
 6   Earney, a certified Paraprofessional Archaeologist with the USFS, who was also
 7   responsible for managing the SUPs for the diversion structures in Strawberry
 8   Canyon from 1982 to 2007 states:
 9        Cultural resource presence is unlikely, from the headwaters down to
10        the Forest property line at Arrowhead Springs Resort/Coldwater
11        Canyon due to the steep terrain on both sides of the creek, thick and
12        almost impassable vegetation on the hillsides on both sides of the
13        creek, and the dynamic nature of the stream flows during heavy
14        rain/snow melt events that I personally saw be intense enough to
15        lower the stream bottom by a good 10 feet in one afternoon--removing
16        trees at the same time. Isolated hunting, fishing and gathering would
17        have been conducted along the actual stream bottom, but camps
18        would have been restricted to milder terrain down around the hot
19        springs areas of the Resort, off Forest. The creek flushed almost
20        annually from winter rains, which would have removed/destroyed
21        isolated artifacts or evidence of human use/habitation along the creek
22        bottom, which would have been highly unlikely anyway due to the
23        aforementioned reasons.
24 Earney Decl. ¶ 5.
25
26
27                                            16
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 1         In fact, decommissioning is likely to improve resource conditions, including
 2   flow in Strawberry and East Twin Creeks. Loe Decl., ¶ 12-17.
 3         In support of its Motion to Intervene in BTB v. USFS, the Nation submitted a
 4   declaration from its Director of Cultural Resources Management stating:
 5        The Nation’s ancestors used the natural hot springs located throughout
 6        the Arrowhead Springs property, which were considered by them to
 7        be uniquely sacred and medicinal. The cold water flowing through the
 8        property, including Strawberry Creek, was also important to
 9        Maara’yam (Serrano) people through time, due to the dependability of
10        this water source and its capacity to support a variety of flora and
11        fauna.
12 Doughty Decl. Exh. 27, ¶8. No mention is made of use of the Headwaters or Cienega
13 Springs.
14     F. There is overwhelming evidence of harm to natural resources from BTB’s
          diversion
15
16         The SBNF was founded on February 25, 1893, with the primary purpose of

17   protecting the watershed and timber supply for the surrounding communities. Prior

18   to BTB’s diversions, the United States Geological Survey (“USGS”) and other

19   sources documented that Strawberry Creek and its tributary springs were historically

20   perennial, flowing even in the dry months and supporting fish and a lush riparian

21   fauna and flora. Strawberry Creek is a tributary to the Santa Ana River and part of

22   the Santa Ana River Watershed. The USGS documented that Strawberry Creek is a

23   recharge source for the Bunker Hill Basin. The dry and diminished Strawberry Creek

24   has led to impaired riparian fauna and flora and a creek that cannot support fish, like

25   the native Speckled Dace, as fish need water to survive. BTB’s diversions have left

26   Strawberry Creek with only intermittent pooling water and fractured habitats. Water-

27                                             17
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 1   dependent flora like alders and willows no longer line the upper reaches of
 2   Strawberry Creek. Because BTB has withdrawn so much water, the species observed
 3   in the 1920s are gone from the Canyon. The USFS has rated each stretch of the
 4   Headwaters and Cienega Springs–public resources on public lands set aside for the
 5   protection of watersheds and habitat–as in poor condition as a direct result of BTB’s
 6   diversions. Loe Decl. ¶¶2-17; Doughty Decl. Exh 4; Bialecki Decl. ¶¶4-7, 12.
 7         B.    The Instant Motion and the Nation’s Motion in the Related Case
 8         In the related BTB v. USFS, the Nation also moved to intervene, and this
 9   Court granted intervention. See Doughty Decl. ¶ 25. Notably, the Nation did not in
10   that case assert its sovereign immunity but instead waived it for purposes of
11   litigation. Doughty Decl. ¶ 25. Here, the Nation filed its motion to intervene for the
12   sole purpose of moving to dismiss, it asserts its sovereign immunity, and it contends
13   that it “cannot protect itself unless it is permitted to intervene” so it can move to
14   dismiss. ECF No. 38-2 at 18. The Nation’s two positions—waiving its sovereign
15   immunity for purposes of BTB v. USFS and not here, are directly contrary to each
16   other. The USFS’s management of the same resources—the Headwater and Cienega
17   Springs—are at issue. The Nation asserts it has an “ancestral territory [that] covered
18   over 7.4 million acres of land, including present-day Antelope Valley on the west,
19   southwest Mojave Desert to the north, portions of the San Gabriel and San
20   Bernardino mountains in the center, the Inland Empire to the south, and the City of
21   Twentynine Palms to the east.” Doughty Decl., Exh. 27, ¶4.
22 III.    Argument
23         A.    Rule 24 Does Not Require Limited Intervention for the Nation.
24         A party seeking mandatory intervention under Fed. R. Civ. P. 24(a) must meet
25   the following four requirements: (1) the applicant must timely move to intervene;
26
27                                              18
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 1   (2) the applicant must have an interest relating to the property or transaction that is
 2   the subject of the action; (3) the applicant must be situated such that disposition of the
 3   action may impair or impede the party’s ability to protect that interest; and (4) the
 4   applicant’s interest must not be adequately represented by other parties. Fed. R. Civ.
 5   P. 24(a)(2); W. Watersheds Project v. Haaland, 22 F.4th 828, 835 (9th Cir. 2022);
 6   Scotts Valley Band of Pomo Indians of Sugar Bowl Rancheria v. U.S., 921 F.2d 924
 7   (9th Cir. 1990). “Failure to satisfy any one of the requirements is fatal to the
 8   application.” Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003). The Nation
 9   fails to meet the requirements for mandatory intervention under Rule 24.
10                1.     The Nation’s Motion Is Not Timely.
11         When considering a motion to intervene, courts in the Ninth Circuit consider
12   three factors: (1) the stage of the proceeding; (2) prejudice; and (3) the reasons for
13   the delay. Smith v. L.A. Unified Sch. Dist., 830 F.3d 843, 854 (9th Cir. 2016).
14   Plaintiff will be significantly prejudiced should the Nation be permitted to intervene.
15   The sole purpose of the intervention is to dismiss the case, eliminating Plaintiff’s
16   right to judicial review. And while the Nation suggests that it delayed in filing its
17   motion because it was attempting to “resolve its water situation on its own prior to
18   filing for intervention,” Nation’s Mot. to Intervene at 14, ECF No. 38-2, the record
19   reflects that eight years have elapsed between when the Nation purchased
20   Arrowhead Springs and Plaintiff filed the instant lawsuit, during which time the
21   Nation has known that its access to water from BTB’s pipeline was tenuous and
22   contested, and that USFS could revoke or modify access at any time, yet the Nation
23   did not apply for its own SUP, did not perfect its alleged water rights, and did not
24   resolve its present concerns. Doughty Decl. ¶¶5-9, 20, 21. The Nation has failed to
25   act to protect its rights, yet it seeks to intervene in this lawsuit for the sole purpose of
26
27                                               19
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 1   moving to dismiss Plaintiff’s case, which is brought in the public interest, entirely.
 2   This would grossly disadvantage Plaintiff by denying its members the right to
 3   challenge this unlawful agency action. Chinook Indian Nation v. Zinke, No. C17-
 4   5668 RBL, 2018 WL 4095089, at *2 (W.D. Wash. Aug. 28, 2018) (Court may
 5   consider the reasons for delay and the Tribe’s failure to act to protect its rights by
 6   applying for an SUP or through other means as persuasive). As a result, the public
 7   would be stripped of its opportunity to vindicate a public right.
 8               2.     The Nation Does Not Have A Significantly Protectable Interest
                        Relating to the Property or Transaction.
 9
10         With respect to the second of the four requirements listed above, the applicant
11   must show specifically that its interest relating to the property or transaction is a
12   “significantly protectable” interest. Donaldson v. United States, 400 U.S. 517, 531,
13   91 S. Ct. 534, 27 L.Ed.2d 580 (1971). The interest must be “protectable under some
14   law” and there must be “a relationship between the legally protected interest and the
15   claims at issue.” See Wilderness Society, 630 F. 3d 1173, 1179 (9th Cir. 2011). The
16   mere fact that the outcome of Plaintiff’s litigation “may have some financial
17   consequences for the non-party tribe is not sufficient to make” the Nation a required
18   party, however. Cachil Dehe Band of Wintun Indians of the Colusa Indian Cmty. v.
19   California, 547 F.3d 962, 971-72 (9th Cir. 2008). The interest must be “more than a
20   financial stake.” Makah Indian Tribe v. Verity, 910 F.2d 555, 558 (9th Cir. 1990);
21   Maverick Gaming LLC v. United States, 123 F.4th 960, 983 (9th Cir. 2024) (J.
22   Miller, concurring) (“a competitive injury, by itself, is not enough to make a tribe a
23   required party.”). The Nation is therefore not a required party to this action.
24         In Donaldson, the Supreme Court rejected a motion to intervene on the grounds
25   that the proposed intervenor lacked a “protectable interest” in the proceeding. There,
26   the IRS issued a summons to Donaldson’s past employer seeking records that
27                                              20
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 1   included Donaldson’s personal tax information. Donaldson, 400 U.S. at 522-23. He
 2   had an interest, because the employer’s records might reveal illegal activity, but his
 3   interest was not “protectable” because the records were not his, and he had no
 4   proprietary or legal right to interfere with his previous employer’s disclosure to the
 5   IRS. Id. at 530. Donaldson did not own the records, and he had no legal privilege or
 6   other right to keep his former employer from giving them to the IRS. Id. The Court
 7   should deny the Nation’s motion under Rule 24(a)(2) for the same reason: the
 8   Nation does not have a protectable interest related to Plaintiff’s claims, which arise
 9   under federal statutes that mandate USFS to manage environmental resources within
10   the National Forest System in a manner that ensures their long-term health and
11   sustainability. To the extent that the Court finds that the Nation has asserted any
12   legally protected interest, the interest is purely financial, thus there is no relationship
13   between that interest and the claims which focus exclusively on administrative,
14   ministerial acts. Several factors support this conclusion.
15         First, the challenged agency actions do not authorize any activity on tribal
16   land, nor do they implicate tribal sovereignty or self-governance. Although not
17   identical, federal rules 19(a)(1) and 24(a)(2) are similar in that courts consider
18   whether the land at issue was owned by the intervening tribe or whether there
19   were other facts and circumstances that clearly implicated tribal sovereignty, self-
20   governance, and self-determination in reviewing both. See Deschutes River All. v.
21   Portland Gen. Elec. Co., 1 F.4th 1153, 1163 (9th Cir. 2021) (“DRA challenges the
22   operation of a large hydroelectric project co-owned and co-operated by the Tribe,
23   and located partly on the Tribe’s reservation.”); Am. Greyhound Racing, Inc. v. Hull,
24   305 F.3d 1015, 1027 (9th Cir. 2002) (gaming on tribal lands); Dine Citizens Against
25   Ruining Our Env’t v. Bureau of Indian Affs., 932 F.3d 843, 858 (9th Cir. 2019) (coal
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27                                               21
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 1   mine and power plant on Navajo Nation land); Maverick Gaming LLC v. United
 2   States, No. 3:22-CV-05325- DGE, 2023 WL 2138477, at *2 (W.D. Wash. Feb. 21,
 3   2023) (gaming on tribe’s reservation); Kescoli v. Babbitt, 101 F.3d 1304, 1307 (9th
 4   Cir. 1996) (“Although the mine complexes are located on the Navajo Nation’s
 5   reservation, the Navajo Nation and the Hopi Tribe are joint owners of some of the
 6   subsurface minerals.”). In this case, the challenged activity does not take place on
 7   the Nation’s land, but instead it involves the diversion of water from a national forest
 8   for bottling and distribution outside of the watershed. The Nation has no land
 9   ownership or legal easements at stake in this lawsuit.
10          Second, the challenged agency actions do not implicate any permit granted to
11   the Nation, and the Nation is not a third-party beneficiary of BTB’s Special Use
12   Permit.1 Doughty Decl. Exh 30, p. 4 (section IV.C). Nor will Plaintiff’s claims
13   prevent the Nation from applying for its own permit or attempting to perfect its
14   alleged historical water rights. The Nation’s claimed interest here is as an agreement
15   with the permit holder, BTB, yet any obligations created by this agreement do not
16   eviscerate USFS’s statutory mandates. Even if the protected interest involved the
17   Nation’s own permit or a contract between USFS and the Nation, federal law would
18   still require the agency to meet its statutory obligations. Oregon Nat. Res. Council
19
20   1
       As the Nation is not a third-party beneficiary of the permit, it also lacks Article III
21   standing. Scotts Valley Band of Pomo Indians v. United States Dep’t of the Interior,
     337 F.R.D. 19, 23 (D.D.C. 2020), aff'd sub nom. Yocha Dehe v. United States Dep’t
22
     of the Interior, 3 F.4th 427 (D.C. Cir. 2021), and aff’d sub nom. Yocha Dehe v.
23   United States Dep’t of the Interior, 3 F.4th 427 (D.C. Cir. 2021) (“Where, as here, a
     party seeks to intervene as a defendant in case against a federal agency, courts in this
24
     district have held that “the party must establish that it will be ‘injured by the setting
25   aside of the government’s action it seeks to defend, that this injury would have been
     caused by that invalidation, and the injury would be prevented if the government
26
     action is upheld.’”
27                                               22
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 1   Action v. U.S. Forest Serv., 445 F. Supp. 2d 1211, 1220–21 (D. Or. 2006) (“The
 2   Ninth Circuit has made it clear that an agency may not limit its obligations to
 3   prepare an environmental assessment that complies with NEPA by entering into a
 4   contract.”). In Metcalf v. Daley, 214 F.3d 1135, 1139 (9th Cir.2000), the federal
 5   defendants signed a contract with the Makah Indian Tribe, agreeing to make a
 6   formal proposal urging the International Whaling Commission to allow the tribe to
 7   engage in limited whaling. The next year, the defendants completed an
 8   environmental assessment which found that the whaling proposal would not
 9   significantly affect the environment. Id. at 1140. Pointing out that NEPA’s
10   effectiveness depends entirely on involving environmental considerations in the
11   initial decision-making process, the Ninth Circuit concluded that the agency had
12   prepared the EA too late, after it had already committed itself contractually to the
13   proposal it was analyzing. Despite the existence of the government contract with the
14   tribe, the Ninth Circuit ordered the agency to prepare a new EA under circumstances
15   that ensured an objective evaluation, free of the previous taint. Id. at 1146.
16         Similarly, here, the Nation must have a legally protected interest in the
17   challenged actions, and the Nation’s interest in barring the Service from engaging in
18   discreet, federal mandates is not an interest that is “protectable under law” or
19   redressable through this action. Just as Plaintiff’s claims do not prevent the Nation
20   from pursuing “its water rights, including its right to apply for its own permit,” the
21   Nation has no cognizable or legally protected interest in perpetuating an unlawful
22   agency process. This lawsuit is not aimed at vacating any permits or approvals that
23   the Nation has obtained from the Service. To the extent that the Nation has asserted
24   any legally protected interest in lawfully securing access to water for its private
25   property, this litigation will not impair or impede the Nation’s ability to protect those
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27                                              23
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 1   specified interests. Just as Donaldson had no legal right to keep his former employer
 2   from handing his records over to the IRS, Donaldson, 400 U.S. at 522-23, the Nation
 3   has no legal right to prevent an agency from fulfilling its statutory duties.
 4         Third, any investment of resources by the Nation to obtain the appropriate
 5   permits and authorizations from relevant agencies or to establish its own water
 6   delivery infrastructure is not a viable or cognizable “protected legal interest.” The
 7   mere fact that the outcome of Plaintiff’s litigation may have some financial
 8   consequences for the Nation is not sufficient to make the Nation a required party,
 9   however. See, e.g., Makah, 910 F.2d at 558 (“[The] interest must be more than a
10   financial stake.”). Spending money on obtaining approvals for a development project
11   is not itself a “protected legal interest.” More importantly, the Nation made a choice
12   to invest its resources in Arrowhead Springs knowing that USFS could suspend
13   water deliveries or deny BTB’s future permits. See, e.g., Doughty Decl. Exh
14   31(“During the interim period, BTB may suspend deliveries if ordered to do so by a
15   government agency such as SWRCB or USFS, or a court and BTB shall notify the
16   Tribe of such order”).
17         And finally, to the extent that the Nation has certain legal claims or defenses
18   that it wants to present to this Court, the Court can grant permissive intervention—as
19   opposed to limited intervention—under Fed. R. Civ. P. 24(b)(1)(B) for the Nation to
20   pursue its claims and defenses. The Nation’s position, ECF 38-2 at 15, is that USFS
21   lacks any right to “protect public property, public safety, and natural resources on
22   National Forest System lands in compliance with” its statutory mandates, First
23   Amended Complaint at 81 (citing Nestlé 2018 SUP). These are “legal claims or
24   defenses” not “legally protectable interests.” Similarly, to the extent that the Nation
25   wants to argue that USFS need not comply with statutorily mandated procedures or
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27                                              24
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 1   that a special use permit is not required here, those are legal claims that they can
 2   raise with permissive intervention, not “legally protectable interests.”
 3               3.     Disposition of this Action Will Not Impair or Impede the
                        Nation’s Ability to Protect Its Claimed Interests.
 4
 5         To be granted intervention as a matter of right, the applicant must be
 6   situated such that disposition of the action may impair or impede the party’s ability to
 7   protect that interest. Fed. R. Civ. P. 24(a)(2). The Nation’s motion for limited
 8   intervention based on Fed. R. Civ. P. 24(a)(2) should be denied because the Nation
 9   is not situated such that disposition of the action may impair or impede the party’s
10   ability to protect the legal interests that they have alleged. As explained above, the
11   Nation does not own the property, nor does it have jurisdiction over the property at
12   issue, nor does it claim any treaty rights. Plaintiff is not challenging a permit held by
13   the Nation and a ruling in favor of Plaintiff will not prevent the Nation from applying
14   for one. This lawsuit is not aimed at vacating any permits or approvals that the
15   Nation has already obtained from the Service. To the extent that the Nation has
16   asserted any legally protected interest, this litigation will not impair or impede the
17   Tribe’s ability to protect those specified interests.
18               4.     UFSF Can Adequately Represent the Nation.
19         The final element requires the applicant to show that existing representation
20   may be inadequate. Generally, “[t]he United States may adequately represent an
21   Indian tribe unless there is a conflict between the United States and the tribe.”
22   Makah, 910 F.2d at 558. A conflict of interest may be found where there are
23   divergent interests at stake among or between tribes and the United States that render
24   the United States unable to carry out its trust obligations. See Shermoen v. United
25   States, 982 F.2d 1312, 1318 (9th Cir. 1992). In Southwest Center for Biological
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27                                              25
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 1   View v. Babbitt, 150 F.3d 1152, 1154 (9th Cir. 1998), the Ninth Circuit found that
 2   the shared interests of the government and the Indian community in defeating the
 3   lawsuit on the merits meant that the Indian community would be adequately
 4   represented by the government. See also Alto v. Black, 738 F.3d 1111, 1127 (9th Cir.
 5   2013) (finding that United States adequately represented tribe’s interests).
 6         The Nation’s reliance on Diné Citizens Against Ruining Our Environment v.
 7   Bureau of Indian Affairs, 932 F.3d 843, 855 (9th Cir. 2019), is misplaced. The
 8   sovereign interests implicated in Diné concerned the operation of the Navajo
 9   Nation’s wholly owned mining corporation on Navajo Nation lands. The Ninth
10   Circuit observed that “[t]he Navajo Nation’s interest is tied to its very ability to
11   govern itself, sustain itself financially, and make decisions about its own natural
12   resources.” Id. at 856. Here, the land is not tribal land and the Nation’s interest in
13   lawful governmental procedure is equal to that of the USFS.2
14         B.    Questions Regarding the Nation’s Status as a Necessary Party and
                 its Sovereign Immunity Are Not Currently Before the Court.
15
16         In its Motion for Limited Intervention, the Nation presents arguments alleging

17   that the Nation is a necessary party and has not waived its sovereign immunity. The

18   Nation has gone as far as to file its proposed motion to dismiss. ECF No. 38-15.

19   The Court need not consider questions regarding whether the Nation is a necessary

20   party under Federal Rule 19 and whether the Nation has waived its sovereign

21   immunity at this time. The Nation’s Motion for Limited Intervention requests

22   intervention solely under Fed. R. Civ. P. 24(a) or (b) for the limited purpose of

23   moving for dismissal pursuant to Rules 19 and 12. As the Nation’s motion to dismiss

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     2
25   The Nation has not established any water right, nor is it necessary for this Court to
   adjudicate the rights of the Nation in considering the legality of BTB’s SUPs, or to
26
   resolve Plaintiff’s claims in this case.
27                                            26
       PLAINTIFF’S OPPOSITION TO YUHAAVIATAM OF SAN MANUEL
28     NATION’S MOTION TO INTERVENE FOR LIMITED PURPOSE OF
                    MOTION TO DISMISS – 5:24-cv-01336-JGB-DTB
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 1   is not yet at issue, Plaintiff has not had an opportunity to file a response. In addition,
 2   Plaintiff would like to engage in limited discovery on the issues presented in that
 3   motion, such as waiver of sovereign immunity. If this court grants Limited
 4   Intervention under Rule 24(a) or (b), then the questions of necessary party and
 5   sovereign immunity will be addressed pursuant to the Nation’s responsive pleading.
 6
 7   Dated: June 16, 2025                             Respectfully Submitted,
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 9                                           By:
                                                      GREENFIRE LAW, PC
10
                                                      Rachel S. Doughty
11                                                    Attorneys for SAVE OUR FOREST
12                                                    ASSOCIATION, INC.

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        PLAINTIFF’S OPPOSITION TO YUHAAVIATAM OF SAN MANUEL
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